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                EXHIBIT E
         Summary Cover Sheet of Fee Application
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                                           EXHIBIT E
                             SUMMARY COVER SHEET OF FEE APPLICATION

 Name of Applicant:                                              Pachulski Stang Ziehl & Jones LLP

 Name of client:                                                 Debtors and Debtors in Possession

 Time period covered by this application:                        June 30, 2022 – November 6, 2022

 Total compensation sought this period:                          $1,682,659.00

 Total expenses sought this period:                              $     19,851.12

 Petition date:                                                  June 30, 2022

 Retention date:                                                 Nunc Pro Tunc to June 30, 2022

 Date of order approving employment:                             August 2, 2022

  Total fees approved by interim order to date:                  $0.00

  Total expenses approved by interim order to date:              $0.00

  Total allowed fees paid to date:                               $0.00

  Total allowed expenses paid to date:                           $0.00

  Blended rate in this application for all attorneys:            $1,222.95

  Blended rate in this application for all timekeepers:          $1,120.43
  Fees sought in this application already paid pursuant
  to a monthly compensation order but not yet                    $0.00
  allowed:
  Expenses sought in this application already paid pursuant
                                                                 $0.00
  to a monthly compensation order but not yet allowed:
  Number of professionals included in this application:          21
  If applicable, number of professionals in this application
                                                                 N/A
  not included in staffing plan approved by client:
  If applicable, difference between fees budgeted and
                                                                 ($102,541.00)
  compensation sought for this period:




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 Name of Applicant:                                                 Pachulski Stang Ziehl & Jones LLP
  Number of professionals billing fewer than 15 hours to
                                                                    11
  the case during this period
  Are any rates higher than those approved or disclosed at
  retention? If yes, calculate and disclose the total
                                                                    No
  compensation sought in this application using the rates
  originally disclosed in the retention application




Case Name:             First Guaranty Mortgage Corporation
Case Number:           22-10584 (CTG)
Applicant's Name:      Pachulski Stang Ziehl & Jones LLP
Date of Application:   12/21/2022
Interim or Final       Final
